               Case 5:18-cr-00258-EJD Document 29 Filed 07/18/18 Page 1 of 3




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                                   UNITED STATES DISTRICT COURT
11
                                 NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                       )   CR-18-00258-EJD
                                                     )
15           Plaintiff,                              )   JOINT STATUS MEMORANDUM AND
                                                     )   STIPULATION AND [PROPOSED]
16      v.                                           )   ORDER CONTINUING STATUS HEARING AND
                                                     )   EXCLUDING TIME FROM THE SPEEDY TRIAL
17   ELIZABETH HOLMES and                            )   ACT
     RAMESH “SUNNY” BALWANI,                         )
18                                                   )
             Defendants.                             )
19                                                   )
                                                     )
20

21           The parties in the above-captioned matter hereby file this joint status memorandum and
22 stipulation to continue the status hearing currently scheduled for July 30, 2018. On June 15, 2018, the

23 defendants each made initial appearances before Magistrate Judge van Keulen. After that appearance,

24 each defendant informally requested discovery from the government. The government asked each

25 defendant to provide it with a 2TB external hard drive. On or around the first week of July 2018, the

26 government received a hard drive from each defendant. Upon receipt, the government began the process

27 of loading the discovery onto these drives. The discovery in this matter is quite voluminous, and the

28 government anticipates producing it in two large batches. The government expects to provide the first

     JOINT STATUS MEMO AND REQUEST FOR CONTINAUCE OF STATUS HEARING
     CR-18-00258 EJD
               Case 5:18-cr-00258-EJD Document 29 Filed 07/18/18 Page 2 of 3




 1 batch of discovery within two weeks. The government anticipates providing the second batch of

 2 discovery before the next court date.

 3          The parties have met and conferred regarding this case and the production of discovery, and

 4 request that the Court continue the status hearing currently scheduled for July 30, 2018 until October 1,

 5 2018. The requested continuance will provide the government with additional time to produce

 6 discovery, and will allow the defense an opportunity to begin to process and initially review the

 7 discovery.

 8          The parties also agree that the time between July 30, 2018 and October 1, 2018 is excludable

 9 from the Speedy Trial Act based upon counsel’s need to effectively prepare by reviewing discovery

10 materials provided by the government. The parties further agree that the failure to grant the requested

11 continuance would unreasonably deny defense counsel reasonable time necessary for effective

12 preparation, taking into account the exercise of due diligence. Finally, the parties agree that the ends of

13 justice served by granting the requested continuance outweigh the best interest of the public, and the

14 defendant in a speedy trial and the prompt disposition of criminal cases. 18 U.S.C. § 3161.

15

16 DATED: July 18, 2018                                   Respectfully submitted,

17                                                        ALEX G. TSE
                                                          Acting United States Attorney
18

19
                                                          /s/
20                                                        JEFF SCHENK
                                                          JOHN C. BOSTIC
21                                                        ROBERT S. LEACH
                                                          Assistant United States Attorneys
22

23 DATED: July 18, 2018

24

25                                                        /s/
                                                          KEVIN DOWNEY
26                                                        LANCE WADE
                                                          Attorneys for Elizabeth Holmes
27

28

     JOINT STATUS MEMO AND REQUEST FOR CONTINAUCE OF STATUS HEARING
     CR-18-00258 EJD
               Case 5:18-cr-00258-EJD Document 29 Filed 07/18/18 Page 3 of 3




 1 DATED: July 18, 2018

 2

 3                                                       /s/
                                                         JEFF COOPERSMITH
 4                                                       MARK BARTLETT
                                                         Attorneys for Ramesh “Sunny”
 5                                                       Balwani
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11                                           [PROPOSED] ORDER
12          Based upon the stipulation of the parties, and for good cause shown, the Court HEREBY
13 ORDERS that the status hearing currently scheduled for July 30, 2018 is continued to October 1, 2018 at

14 1:30. The Court FURTHER ORDERS that the time between July 30, 2018, and October 1, 2018, is

15 excluded under the Speedy Trial Act, 18 U.S.C. § 3161. The Court finds that the failure to grant the

16 requested continuance would unreasonably deny each defense counsel reasonable time necessary for

17 effective preparation, taking into account the exercise of due diligence. Furthermore, the Court finds

18 that the ends of justice served by granting the requested continuance outweigh the best interest of the

19 public and the defendant in a speedy trial and in the prompt disposition of criminal cases. The Court

20 therefore concludes that this exclusion of time should be made under 18 U.S.C. § 3161.

21

22 IT IS SO ORDERED.

23 DATED: ___________                                            _________________________________
                                                                 EDWARD J. DAVILA
24                                                               UNITED STATES DISTRICT JUDGE
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     JOINT STATUS MEMO AND REQUEST FOR CONTINAUCE OF STATUS HEARING
     CR-18-00258 EJD
